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                 EXHIBIT A
    Case: 1:17-md-02804-DAP Doc #: 3709-1 Filed: 04/30/21 2 of 4. PageID #: 511060


Subject:    Re: EXTERNAL-CVS Zero Market Share Cases
Date:       Tuesday, April 20, 2021 at 1:31:34 PM Mountain Daylight Time
From:       Rice, Joe
To:         External User - Steven Herman
CC:         Weinberger, Peter H., David R. Cohen (David@SpecialMaster.Law), External User - Eric
            Delinsky, External User - Sasha Miller, External User - Tina Tabacchi, External User - Kelly
            Moore, Alex Harris
A2achments: image001.png



We are reaching out to all MDL ﬁled cases and the ﬁrms that ﬁled them. I am sure that will over lap with some state
ﬁled cases. To best of my knowledge aZer checking with others we do not have a list of addresses for state ﬁled
cases. Let’s see what happens on the federal cases and then we can decide what if anything to do on state ﬁled cases.

Joseph Rice | A]orney at Law | Motley Rice LLC
28 Bridgeside Blvd. | Mt. Pleasant, SC 29464
o. 843.216.9159 | f. 843.216.9290 | jrice@motleyrice.com


       On Apr 20, 2021, at 3:15 PM, Herman, Steven <SHerman@zuckerman.com> wrote:


       EXTERNAL

       Joe,

       It would require considerable work for us to assemble the counsel informaion you seek, and
       our understanding is that plainiﬀs possess email list serves and other devices that make this
       task considerably easier for them. At the very least, plainiﬀs should be able to idenify with
       ease which cases involve members of the PEC on the lists provided by CVS and the other
       pharmacies. If you sill need assistance aZer vekng the cases/ﬁrms with the PEC and employing
       the other tools already available to the PEC, let’s discuss. I’ve spoken with counsel for Rite Aid,
       Walmart, and Walgreens (who are copied on this email), and, if you idenify the ﬁrms where you
       need assistance, we would be open to dividing up the work with you, on that narrower pool, to
       locate contact informaion for those ﬁrms.

       Best Regards,
       Steve


                                       Steven Herman
        <image001.png>                 Zuckerman Spaeder LLP
                                       SHerman@zuckerman.com

        1800 M STREET NW, SUITE 1000 • WASHINGTON, DC 20036-5807
        202.778.1883 direct • 202.822.8106 fax

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 From: Rice, Joe <jrice@motleyrice.com>
 Sent: Monday, April 19, 2021 11:04 PM
 To: Herman, Steven <SHerman@zuckerman.com>; Weinberger, Peter H.
 <PWeinberger@spanglaw.com>
 Cc: 'David R. Cohen (David@SpecialMaster.Law)' <david@specialmaster.law>; Delinsky, Eric
 <edelinsky@zuckerman.com>; Miller, Sasha <smiller@zuckerman.com>
 Subject: RE: EXTERNAL-CVS Zero Market Share Cases

 EXTERNAL



 Steve thanks for this but when I opened a]achment it does not contain contact informaion for
 plainiﬀ’s counsel. Please provide that so we can reach out to help resolve this issue. I am sure
 when you capture the informaion on a suit it includes address or email or locaion for plainiﬀ’s
 counsel.


 Joseph Rice | Attorney at Law | Motley Rice LLC
 28 Bridgeside Blvd. | Mt. Pleasant, SC 29464
 o. 843.216.9159 | f. 843.216.9290 | jrice@motleyrice.com


 From: Herman, Steven <SHerman@zuckerman.com>
 Sent: Monday, April 19, 2021 8:10 PM
 To: Rice, Joe <jrice@motleyrice.com>; Weinberger, Peter H. <PWeinberger@spanglaw.com>
 Cc: 'David R. Cohen (David@SpecialMaster.Law)' <david@specialmaster.law>; Delinsky, Eric
 <edelinsky@zuckerman.com>; Miller, Sasha <smiller@zuckerman.com>
 Subject: EXTERNAL-CVS Zero Market Share Cases

 EXTERNAL

 Dear Joe and Pete,

 We write pursuant to Judge Polster’s order direcing the pharmacy defendants to idenify cases
 in which they have been named as a defendant where they have zero-percent market share.
 ECF No. 3688. A]ached to this e-mail are two lists of cases that we have ideniﬁed where, based
 on our invesigaion, CVS has no market share in the relevant jurisdicion. Pursuant to Judge
 Polster’s order, we request that you dismiss these cases with prejudice.

 We coninue to evaluate cases to idenify addiional ones that should be dismissed, pursuant to
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          We coninue to evaluate cases to idenify addiional ones that should be dismissed, pursuant to
          Judge Polster’s order, and we reserve the right to bring any such cases to your a]enion as they
          are ideniﬁed.

          Thank you for your assistance with this process.

          Sincerely,
          Steve Herman



                                          Steven Herman
           <image001.png>                 Zuckerman Spaeder LLP
                                          SHerman@zuckerman.com

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           202.778.1883 direct • 202.822.8106 fax

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